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                IN THE UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF TEXAS
                        GALVESTON DIVISION

CHRISTOPHER STOCKTON,                 §
Plaintiff                             §
                                      §     CIVIL ACTION NO.
vs.                                   §
                                      §     Jury Trial Demanded
CREDIT & COLLECTION                   §
SOLUTIONS, INC. AND                   §
RONALD E. ALLEN, SR.,                 §
Defendants                            §


                           ORIGINAL COMPLAINT

TO THE HONORABLE UNITED STATES DISTRICT JUDGE:

                                NATURE OF ACTION

       1.    This is an action for damages brought by an individual plaintiff for

Defendants’ violations of the Fair Debt Collection Practices Act, 15 U.S.C. § 1692,

et seq. (hereinafter “FDCPA”), the Texas Debt Collection Practices Act, Chapter

392 (hereinafter “TDCPA”), the Texas Business and Commerce Code, Subchapter

E, Chapter 17, (hereinafter “DTPA”), which prohibit debt collectors from engaging

in abusive, deceptive, and unfair practices, and the Telephone Consumer Protection

Act (“TCPA”), 47 U.S.C. § 227.

       2.    Plaintiff seeks to recover monetary damages for Defendants’ violation

of the FDCPA, the TDCPA, DTPA, and TCPA and to have an Order or injunction

issued by this Court preventing Defendants from continuing its violative behaviors.
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       3.     Service may be made upon Defendants in any other district in which it

may be found pursuant to 29 U.S.C. §1132(e)(2).

                             JURISDICTION AND VENUE

       4.     Jurisdiction of this Court arises under 15 U.S.C. § 1692k(d), 28

U.S.C. § 1331, 47 U.S.C. § 227(b)(3) and 28 U.S.C. § 1337.

       5.     Venue is proper before this Court pursuant to 28 U.S.C. §1391(b),

where the acts and transactions giving rise to Plaintiff’s action occurred in this

district, where Plaintiff resides in this district, and/or where Defendants transact

business in this district.

                                    PARTIES

       6.     Plaintiff, Christopher Stockton (“Plaintiff”), is a natural person

residing in Galveston County.

       7.     Plaintiff is a consumer as defined by the FDCPA, 15 U.S.C. §

1692a(3) and the Texas Business and Commerce Code section §17.50(a)(1) and

Texas Finance Code §392.001(1).

       8.     Defendant, Credit & Collection Solutions, Inc. (“C&CS”) is an entity

who at all relevant times was engaged, by use of the mails and telephone, in the

business of attempting to collect a “debt” from Plaintiff, as defined by 15 U.S.C.

§1692a(5) and by Tex. Fin. Code Ann. § 392.001(6).
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      9.      Defendant, Ronald E. Allen, Sr. (“Mr. Allen”) is an individual who at

all relevant times was engaged, by use of the mails and telephone, in the business

of attempting to collect a “debt” from Plaintiff, as defined by 15 U.S.C. §1692a(5).

      10.     “Employees can be held personally liable under the FDCPA.”

Robinson v. Managed Accounts Receivable Corp., 654 F. Supp. 2d 1051, 1059

(C.D. Cal. 2009); see Schwarm v. Craighead, 552 F. Supp. 2d 1056, 1070-71 (E.D.

Cal. 2008).

      11.     Furthermore, “most district courts that have addressed the issue have

held that the corporate structure does not insulate shareholders, officers, or

directors from personal liability under the FDCPA.” Schwarm v. Craighead, 552

F. Supp. 2d 1056, 1070-71 (E.D. Cal. 2008); see Kistner v. Law Offices of Michael

P. Margelefsky, L.L.C., 518 F.3d 433, 437-38 (6th Cir. 2008); del Campo v.

Kennedy, 491 F. Supp. 2d 891, 903 (N.D.Cal.2006); Brumbelow v. Law Offices of

Bennett & Deloney, P.C., 372 F.Supp.2d 615, 618-21 (D. Utah 2005); Albanese v.

Portnoff Law Assocs., Ltd., 301 F. Supp. 2d 389, 400 (E.D. Pa. 2004); Musso v.

Seiders, 194 F.R.D. 43, 46-47 (D.Conn.1999); Brink v. First Credit Res., 57 F.

Supp. 2d 848, 861-62 (D. Ariz. 1999); Pikes v. Riddle, 38 F. Supp. 2d 639, 640

(N.D. Ill. 1998); Ditty v. CheckRite, Ltd., 973 F. Supp. 1320, 1337-38 (D. Utah

1997); Newman v. Checkrite Cal., Inc., 912 F. Supp. 1354, 1372 (E.D. Cal.1995);

Teng v. Metro. Retail Recovery Inc., 851 F. Supp. 61, 67 (E.D. N.Y. 1994).
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      12.    Credit & Collection Solutions, Inc. and Ronald E. Allen, Sr.

(“Defendants”) are “debt collectors” as defined by 15 U.S.C. § 1692a(6) and by

Tex. Fin. Code Ann. § 392.001(2).

                           FACTUAL ALLEGATIONS

      13.    Plaintiff is a natural person obligated, or allegedly obligated, to pay a

debt owed or due, or asserted to be owed or due a creditor other than Defendants.

      14.    Plaintiff's obligation, or alleged obligation, owed or due, or asserted to

be owed or due a creditor other than Defendants, arise from a transaction in which

the money, property, insurance, or services that are the subject of the transaction

were incurred primarily for personal, family, or household purposes and Plaintiff

incurred the obligation, or alleged obligation, owed or due, or asserted to be owed

or due a creditor other than Defendants.

      15.    Defendants use instrumentalities of interstate commerce or the mails

in a business the principal purpose of which is the collection of any debts, and/or

regularly collects or attempts to collect, directly or indirectly, debts owed or due,

or asserted to be owed or due another.

      16.    Within one (1) year preceding the date of this Complaint, Defendants

made and/or placed a telephone call to Plaintiff’s cellular telephone number, in

effort to collect from Plaintiff an obligation, or alleged obligation, owed or due, or

asserted to be owed or due a creditor other than Defendants.
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      17.    Within one (1) year preceding the date of this Complaint, Defendants

willfully and knowingly utilized an automatic telephone dialing system to make

and/or place a telephone call to Plaintiff’s cellular telephone number, in effort to

collect from Plaintiff an obligation, or alleged obligation, owed or due, or asserted

to be owed or due a creditor other than Defendants.

      18.    Defendants left a voicemail on Plaintiff’s phone on August 30, 2010

stating that Plaintiff’s “medical supplies were ready.”

      19.    When Plaintiff returned the call, he was told by Defendants that

Defendants were debt collectors.

      20.    Defendants thus deceived Plaintiff into calling Defendants so that

Defendants could obtain information regarding Plaintiff, and failed to state its true

corporate and/or business name and that its communication was from a debt

collector in its original communication to Plaintiff.     (15 U.S.C. §§ 1692d(6),

1692e(10), 1692e(11); Tex Fin Code §§               392.304(a)(1), 392.304(a)(19),

392.304(a)(5)(B)).

      21.    Defendants placed telephone calls to Plaintiff on September 3, 2010

@ 12:42 P.M. and September 7. 2010 @ 12:20 P.M. in which Defendants told

Plaintiff that Defendants would sue Plaintiff for $2,700 instead of the original $750

debt if Plaintiff did not pay Defendants. (15 U.S.C. §§ 1692e(2)(A), (15 U.S.C. §

1692e(10); Tex Fin Code §§ 392.304(a)(8), 392.304(a)(19)).
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      22.    Defendants placed telephone calls to Plaintiff on September 3, 2010

@ 12:42 P.M. and September 7. 2010 @ 12:20 P.M. during which Defendants

stated to Plaintiff that if Plaintiff did not pay immediately his wages would be

garnished by 25%, an action that was not lawful at the time the threat was made

and an action that Defendants did not intend to take. (15 U.S.C. §§ 1692e(4),

1692e(5), 1692e(10);       Tex Fin Code §§            392.301(a)(7), 392.301(a)(8),

392.304(a)(19)).

      23.    Defendants placed telephone calls to Plaintiff on September 3, 2010

@ 12:42 P.M. and September 7. 2010 @ 12:20 P.M. during which Defendants

stated to Plaintiff that it was a crime not to pay his bill. (15 U.S.C. §§ 1692e(7), §

1692e(10); Tex Fin Code § 392.301(a)(6), 392.304(a)(19)).

      24.    Defendants placed multiple non-emergency calls to Plaintiff’s cellular

telephone, without the prior express consent of Plaintiff, using an automatic

telephone dialing system. (47 U.S.C. 227(b)(1)(A)(iii)).

      25.    Defendants’ actions constitute conduct highly offensive to a

reasonable person, and as a result of Defendants’ behavior Plaintiff suffered and

continues to suffer injury to Plaintiff’s feelings, personal humiliation,

embarrassment, mental aguish and/or emotional distress.

      26.    As a result of the above violations of the FDCPA, Plaintiff suffered

and continues to suffer personal humiliation, embarrassment, mental anguish and
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emotional distress, and Defendants are liable to Plaintiff for Plaintiff’s actual

damages, statutory damages, and costs and attorney’s fees.

                               COUNT I—FDCPA
                               DEFENDANT C&CS

      27.      Plaintiff repeats and re-alleges each and every allegation contained

above.

      28.      Defendant’s aforementioned conduct violated the FDCPA.

      WHEREFORE, Plaintiff prays for relief and judgment, as follows:

            a) Adjudging that Defendant violated the FDCPA;

            b) Awarding Plaintiff statutory damages, pursuant to 15 U.S.C. §1692k,

               in the amount of $1,000.00;

            c) Awarding Plaintiff actual damages, pursuant to 15 U.S.C. §1692k;

            d) Awarding Plaintiff reasonable attorneys’ fees ands costs incurred in

               this action;

            e) Awarding Plaintiff any pre-judgment and post-judgment interest as

               may be allowed under the law;

            f) Awarding such other and further relief as the Court may deem just and

               proper.
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                                COUNT II—FDCPA
                              DEFENDANT MR. ALLEN

      29.      Plaintiff repeats and re-alleges each and every allegation contained

above.

      30.      Defendant’s aforementioned conduct violated the FDCPA.

      WHEREFORE, Plaintiff prays for relief and judgment, as follows:

            g) Adjudging that Defendant violated the FDCPA;

            h) Awarding Plaintiff statutory damages, pursuant to 15 U.S.C. §1692k,

               in the amount of $1,000.00;

            i) Awarding Plaintiff actual damages, pursuant to 15 U.S.C. §1692k;

            j) Awarding Plaintiff reasonable attorneys’ fees ands costs incurred in

               this action;

            k) Awarding Plaintiff any pre-judgment and post-judgment interest as

               may be allowed under the law;

            l) Awarding such other and further relief as the Court may deem just and

               proper.

                                COUNT III—TDCPA
                                DEFENDANT C&CS

      31.      Plaintiff repeats and re-alleges each and every allegation above.

      32.      Defendant violated the Texas Debt Collection Practices Act in one or

more of the aforementioned ways, plus by using false representations or deceptive
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means to collect a debt or obtain information concerning a consumer, including

(Tex Fin Code § 392.304(a)(19)).

      WHEREFORE, Plaintiff prays for relief and judgment, as follows:

            a) Adjudging that Defendant violated the TDCPA;

            b) Awarding Plaintiff statutory damages pursuant to the TDCPA;

            c) Awarding Plaintiff actual damages pursuant to the TDCPA;

            d) Awarding Plaintiff reasonable attorneys’ fees ands costs incurred in

               this action;

            e) Awarding Plaintiff any pre-judgment and post-judgment interest as

               may be allowed under the law;

            f) Awarding such other and further relief as the Court may deem just and

               proper.

                                COUNT IV—TCPA
                                DEFENDANT C&CS

      33.      Plaintiff repeats and re-alleges each and every allegation above.

      34.      Defendant violated 47 U.S.C. § 227(b)(1)(A)(iii) by willfully and

knowingly utilizing an automatic telephone dialing system to make and/or place a

telephone call to Plaintiff’s cellular telephone number.

      WHEREFORE, Plaintiff prays for relief and judgment, as follows:

            a) Adjudging that Defendant violated 47 U.S.C. § 227(b)(1)(A)(iii);
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            b) Awarding Plaintiff statutory damages, pursuant to 47 U.S.C. §

               227(b)(3)(B), in the amount of $500.00 per violation;

            c) Awarding Plaintiff statutory damages, pursuant to 47 U.S.C. §

               227(b)(3)(C), in the amount of $1,500.00 per violation;

            d) Awarding Plaintiff actual damages, pursuant to 47 U.S.C. §

               227(b)(3)(B);

            e) Awarding Plaintiff reasonable attorneys’ fees ands costs incurred in

               this action;

            f) Awarding Plaintiff any pre-judgment and post-judgment interest as

               may be allowed under the law.

                                    COUNT V—DTPA
                                   DEFENDANT C&CS

      35.      Plaintiff reincorporates by reference herein all prior paragraphs above.

      36.      This suit is brought, in part, under the authority of Tex. Bus. & Com.

Code § 17.41 et seq., commonly known as the Deceptive Trade Practices and

Plaintiff Protection Act and cited in this petition as the “DTPA”.

      37.      Defendant was given notice in writing of the claims made in this

Petition more than sixty days before this suit was filed in the manner and form

required by DTPA §17.505 (a).

      38.      Defendant made numerous material misrepresentations in an attempt

to collect the purported consumer debt as detailed above.
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        39.   Defendant knew or should have known that its representations were

false and/or acted in reckless disregard for the truth or falsity of its representations.

        40.   Defendant’s actions were done maliciously and in willful, wanton and

reckless disregard for the rights of the Plaintiff.

        41.   Defendant’s actions as detailed above constitute a violation of the

Texas Deceptive Trade Practices Act, Tex. Bus. & Com. Code § 17.41.

        42.   The conduct described above has been and is a producing and

proximate cause of damages to Plaintiff. Plaintiff’s damages include: Statutory

damages of at least $100.00 per violation, actual/economic damages, emotional

and/or mental anguish damages, exemplary/punitive damages, and Plaintiff’s

attorneys’ fees and costs.

        43.   Additionally, Plaintiff seeks an award of discretionary additional

damages in an amount not to exceed three times the amount of economic damages

if Defendant’s conduct is found to have been committed knowingly; or an amount

not to exceed three times the amount of economic and mental anguish damages if

Defendants’ conduct is found to have been committed intentionally.

        44.   Plaintiff seeks reasonable and necessary attorney’s fees in this case

through the time judgment is entered and for any post-trial or post-judgment

appeals, to be detailed through a statement of services submitted at the appropriate

time.
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 WHEREFORE, Plaintiff prays for relief and judgment as follows:

 (a)   a declaratory judgment be entered that Defendant’s conduct violated

 the DTPA;

 (b)   an    award     for      all   actual   damages,   exemplary   damages,

 emotional/mental anguish damages and all statutory additional damages, all

 attorneys fees, costs of court, and pre-judgment and post-judgment interest

 at the highest lawful rates.

 (c)   an award of discretionary additional damages in an amount not to

 exceed three times the amount of economic damages if Defendant’s conduct

 is found to have been committed knowingly; or an amount not to exceed

 three times the amount of economic and mental anguish damages if

 Defendant’s conduct is found to have been committed intentionally.

 (d)   such other and further relief as may be just and proper.

                             TRIAL BY JURY

 45.   Plaintiff is entitled to and hereby demands a trial by jury.

                                           Respectfully submitted,


                                           By: /s/ Dennis R. Kurz
                                           Dennis R. Kurz
                                           Texas State Bar # 24068183
                                           Southern District Bar No. 1045205
                                           Attorney in Charge for Plaintiff
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                        CERTIFICATE OF SERVICE


I certify that on November 18, 2010, I electronically filed the foregoing document
with the clerk of the U.S. District Court, Southern District of Texas, Galveston
Division, using the electronic case filing system of the court.


                                                         /s/ Dennis R. Kurz
                                                         Dennis R. Kurz
